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                                     Preliminary Investigative Report

                                              July 13, 2009

                    In Re: HaLeigh Ann-M~rie Cummings/Disappearance

                           Submitted to: Federal Bureau of Investigation

           Submitted by: Timothy Charles Holmseth/Investigative Reporter




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                                     Introduction
      On March 22, 2009, a search for rrussmg five year-old HaLeigh Cummings was
      conducted in San Mateo, FL. The search was conducted primarily by members of the
      biological mother's family who were accompanied by a man who told the dog handler he
      was an FBI agent.

        At the search were Judy Lucia, dog handler; Interlachen, FL; Marie Griffis, mother of
        Crystal Sheffield, biological mother of HaLeigh Cummings; Johnny 'Marty' Sheffield,
        Crystal Sheffield's father; Connie Sheffield, Johnny Sheffield's wife; Ruby Kanger,
   '" ' mother in law of Johnny Sheffield, J~bn Regan. self-professed clergyman; Jeremiah
        Regan, administrator of the HaLeigh Bug center; William 'Cobra' Staubs, private
        investigator, Case Closed, Ft. Lauderdale, FL.

      Lucia said she had been active with her Newfoundland crisis response dog, Gunny, in the
      search for HaLeigh Cummings since the child had gone missing. She said she was asked
      to bring Gunny to a planned family search at San Mateo. "The Sheffield family with
      Jeremiah and John Regan planned this search. They told me that Connie (Sheffield) had
      received a tip from a psychic from Arkansas." she said.

      Lucia said the events on that day in San Mateo have caused her to re-think what might
      have been going on - and why. She said she now she believes the search was fake and
      evidence was planted at the scene that her dog was supposed to find.

      On April 13, 2009, Lucia reported to Dominick Pape, special agent in charge, Florida
      Department of Law Enforcement, that a man identified himself to her as an FBI agent at a
      search for HaLeigh Cummings.

      On April 14, 2009, Pape confirmed receipt of Lucia's information.

      There is no known action that was ever taken by authorities on Lucia's report of the
      federal crime of impersonating a federal agent. Another crime may also exist if a
      conspiiacy was entered into by members of the search team to stage a crime scene and
      plant evidence in the case of a missing child.


                                          The FBI Agent

       Lucia said she spoke with a man at the search who identified himself as an "undercover
       FBI'' agent. "There was an older man with me who wouldn't give me his name since he
       told me that he didn't want to blow his cover," she said.

       Lucia said she believed him when he said he was with the FBI, but later learned, from a
       video taken at a HaLeigh Bug foundation barbeque in Satsuma, FL, that same day, that
       the man was actually John Regan, Hastings, FL.
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      Lucia is not the only person to say that John Regan identified himself as FBI and/or a
      representative of other forms oflaw enforcement and/or government agencies.

      Additional Information on the FBI Agent (John Regan)
       Wayanne Kruger, victim's advocate, California, flew to Florida from Arizona to assist
       Crystal Sheffield when her child went missing. Kruger said she had similar encounters
     , with John Regan.

        Kniger said she met John Regan in a JC. Penney. "I'd like to help out in this case," she
        recalls him saying. She said he identified himself as a chaplain for the local (police)
   .. , department and told her he does a lot of work in the "underground" with "pedophiles" .
        while going "undercover. " She said he also claimed to be with the "CIA. "

      Kruger said John Regan told her his phone was encrypted in a special way that it could
      not be tapped.

      According to William 'Cobra' Staubs, John Regan admitted to him he had impersonated
      an officer. He said John Regan admitted he deceptively flashed his chaplain badge to
      Kruger while she was extremely ill with a fever, and convinced her to leave town on an
      airplane. "[John Regan used] his chaplain badge to get Wayanne (Kruger) on a plane,"
      Staubs said. "I showed her my chaplain's badge - said 'let's go, '"Staubs said, recalling
      what John Regan told him. "I heard it out of his own mouth where he was stupid enough
      to confess to me that he did that dumb shit. I said, 'fuck' you 're a dumb ass. "

      Rev. Richard Grund, Wmdermere, FL, said he was involved in a three-way conversation
      that included himself, Staubs, Jeremiah Regan (John Regan's son, 26), and John Regan.
      He too said John Regan admitted he had impersonated a police officer to convince
      Kruger she needed to get out of town for her awn safety. "He said he used a chaplain
      badge to convince her he was a cop, and she was so out of it she couldn't tell the
      difference - and he took her to the airport and basically carried her to the gate, and she
      stumbled onto the plane, " Grund explained, adding that John Regan admitted that
      Kruger should have been in a hospital. When Kruger got home she had a 105
      temperature, Gnmd said.

      Grund said John Regan impersonated a law officer in an airport.



                                       The San Mateo Search

       The search was conducted near a church at San Mateo, where according to Lucia, a
       psychic from Arkansas told Connie Sheffield they should search.

      Lucia said her dog needed to sniff an item that was HaLeigh's to acquire the child's
      scent. She said she asked Marie Griffis for something that had HaLeigh' s scent on it. She
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     said Griffis told her she had given HaLeigh's shoes away. Lucia said she thought it was
     odd that Maries Griffis would give away her missing grand-daughter's shoes.

     Griffis produced a purse that she said belonged to HaLeigh, and it was used for the dog to
     acquire the child's scent.                                          ·

     The crew of select family members began to search.

     During the search the following items were found: Glove (with red stains), suitcase
     (containing a map and/or bus schedule to Volusia County), vehicle keys, inhaler, toys,
     and a man's socks.

                                           The Items Found

                                                Toys
      Lucia said Gunny followed HaLeigh' s scent from the purse right up to some toys that
      were on the ground. "The toys Gunny had gone to. [I] can't remember exactly what they
      looked like, there were three of them and they were plastic," Lucia said. "Gunny went to
      the toys from the scent on the purse."

                                                  Glove
      "The glove was a work glove, Jeremiah (Regan) was holding it up with a stick and
      pointing out that it looked like it had blood on it," Lucia said.

                                            Socks
      "Gunny found a pair of man's socks; they were dark in color, [I] didn't want to touch
      them," Lucia said.

                                                 Inhaler
      "The inhaler was small, I believe, clear plastic," Lucia said.

                                               Suitcase
      "We were all searching the area and done basically for the day. Marie all of a sudden
      found a suitcase by the chain link fence by the playground area. It wasn't there before. It
      was big, [I] can't remember [the] color, but it has wheels and a combination lock. Cobra
      was there by then and broke it open and said that there was a Volusia County bus
      schedule in it."

                                             Keys
      "The keys were found in the dirt and Cobra said that they looked like car keys," Lucia
      said.


                        William 'COBRA' Staubs Is Called To Sea1·ch Site
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           Staubs said he received a call on his cell phone from the missing child's grandpa, John
           Sheffield, that items had been found at the San Mateo site. He said he was approximately
           25 minutes away, searching elsewhere. "Marty Sheffield is the one who called me and
           said, 'Cobra, were out here in San Mateo. He said, 'Cobra, goddamn brother, we found a
           fucking bloody glove.'

            However, according to Lucia, John Regan (impersonating an FBI agent) called Staubs.
            She said she thought (the undercover FBI agent) was calling law enforcement and she
          · was shocked when Staubs arrived.

           Staubs said he was skeptical of what he was hearing from John Sheffield on the phone,
           but said John Sheffield was persistent. "He said 'you don't understand. We've got a
   .. '    psychic over here with a psychic dog and they found this shit,'" Staubs said, recalling the
           conversation.

           Staubs said John Sheffield's voice conveyed seriousness and urgency. "He said, 'I got
           some other stuff too, man. I said, 'really - bloody glove for real?' He said ' looks like
           blood to me man. I said, ' oh shit.' And he goes, 'I got a nebulizer' and I go, 'Oh fuck."'

           Note:
           Those close to the missing five year~old child knew the she sometimes utilized a
           breathing apparatus. It is interesting John Sheffield said they had found a "nebulizer"
           wlie11 most say it was just a piece ofplastic or an inh<ller.

           Staubs said he then told John Sheffield to call law enforcement, but John Sheffield
           balked. "And he said, ' man I don't know enough about this shit -I want you to take a look
           at it,'" Staubs recounts.

           Note:
           Why John Sheffield would hesitate to contact law enforcement seems .m-ange
           considering he already had an 'FBI agent' as a member ofhis search party.

           Lucia's statements make it clear that John Regan was convincingly playing the role of an
           FBI agent. Lucia said she saw him ' clearing evidence' for retrieval, and the rest of the
           search team was playing along with it. "The family members collected the evidence after
           John Regan approved it. I touched nothing," Lucia said.

            "The older man (John Regan/FBI) said that [h]e needed to make a phone call and I
            thought that he was going to call law enforcement. As I have done searches before, I
            knew that you never touch evidence. Cobra showed up instead of law enforcement and
            the man (John Regan) bagged the evidence. At that time, I thought he was a fed so I
            didn't say anything," Lucia said.

           ·"Johnny Sheffield and the older man (John Regan/FBI agent) were talking down the road.
            I walked over to them. I asked the older man if he thought if HaLeigh could be in the
            water. He said no way, impossible," Lucia said.
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      Lucia said she thought it was strange that there seemed to be a desire to suddenly stop
      searching at a certain point. "(John Regan) told me as we were searching, that HaLeigh
      couldn't be in the woods since no one would want to draw attention to themselves at night
      with a flashlight."

      Lucia said she found John Regan's (the FBI agent's) assumptions strange.

        ' Investigative Summary:
          A possibility is that John Regan and the other searchers knew where the planted
          evidence was and would not want to venture into woods and water because they were
          not really looking fur a child. Lucia said when the search was over she kindly asked
   '- '
          them to wait for her because she was not familiar with the area. She said they all
          r1tdely left her tliere to find her own way home as if her purpose had been served.

                       William 'COBRA' Staubs Arrives at the Search Site

      Staubs said when he arrived at the San Mateo ·search site after talking to John Sheffield
      on the telephone, John Sheffield approached him. "The first person to come walking up
      to me was Marty (John Sheffield) with the fucking glove," Staubs said.

      Staubs said he debated with John Sheffield. "He showed me the fucking glove - I said,
      'come on man, that glove has been out here a hundred fucking years. It's tore up. He said,
      'that's just because they just mowed man and the mower got it. I said, 'no man look at the
      stitching on it. I said that dripping right there is oak sap."

      When Staubs arrived most of the 'items of evidence' had already been handled and
      touched.

      "Somebody already had a bag; I think that was Ruby [Kanger] - carrying a bag full of
      shit. So I said where and the hell did you all get all that shit from. [They said] 'that dog
      there,' Staubs said.

      Note:
      The suggestion was made to Staubs that the dog had found all the items (and the dog
      was supposedly following HaLeigh 's scent)

       Lucia's recollection of the evidence being handled appears to support Staubs'. "I believe
       that a woman took the items and placed them in a plastic bag," she said, noting she did
       not know who the woman was.

       Staubs said the items did not appear to be viable evidence in any way. He said the only
       thing that interested him was the vehicle key that was found.

       "There was toys from some kid - one of them vaporator things for a breathing machine,"
       Staubs said, adding that the piece of plastic looked sun beaten.
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            "The preacher took the shit. The preacher, the one that eh, Regan, Mr. Regan. He took the
            shit. I didn't want that bag of shit. That shit had been out there in the sun forever," Staubs
            said.


                                         The San Mateo Search Evidence

            When the search at San Mateo was over, Lucia said she believed the items of possible
            evidence were taken into custody oflaw enforcement via the 'FBI agent.'

            Lucia said she spoke with Putnam County Sheriff's Department Detective Peggy Cone
   .... '
            and was stunned when she was told there was no FBI agent involved in any search.
            "When Peggy Cone told me that [the evidence was] tampered with, and the FBI told me
            there was no undercover on this investigation, I knew that this search was not real and
            someone was playing games," she said.

            "It wasn't long after the search [that] I called Peggy Cone and asked her if there were any
            articles brought in from the San Mateo search. She said that there were but they can't be
            used because they were contaminated. She told me that Jeremiah (Regan) and Cobra
            (William Staubs) brought them in."

            When told that Peggy Cone said he turned some evidence in from the San Mateo search,
            accompanied by Jeremiah Regan, Staubs said, "That's a lie. L-I-E, lie"

            Staubs said he did take some evidence into the police at one point in time, but it was not
            related to the San Mateo search. He said the items he brought in were entirely different,
            on a different date, and Jeremiah Regan was not with him. "Hell no .... [Jeremiah Regan]
            was never with me at the police station," he said.

            Lt. Johnny Greenwood, public information officer, PCSD, was contacted and asked about
            the San Mateo search items but he did not respond.


              Crystal Sheffield's Attorney Kim Picazio Interjects Herself into San Mateo Search
                                           Conspiracy to Hide Facts

            Lucia said she began to realize something was very wrong with what had occurred at San
            Mateo on March 22, and she began making calls and sending letters in search of answers.
            It was at this time, she said, Florida Attorney Kim Picazio, Crystal Sheffield's lawyer,
            involved herself to Lucia - telling her to be quiet about the search.

            Note:
            Picazio's reaction to the details su"ounding the San Mateo search become even more
            disturbing as we learn more about PCSD Peggy Cone. .
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     Picazio took a strong interest in John Regan, and began vigorously defending him to
     Lucia in email communications. In an email dated Saturday, April 11, 2009, at 10:56:13
     a.m., Picazio wrote from her law firm's email account, a message to an internet blogger
     called Pirate Girl. In the email she said, "JR's (Jeremiah Regan) dad was not there.
     Confirm this directly from me personally."

       On that same day, at 11 :50:58 a.m., Pirate Girl relayed Picazio's message to Lucia. "Kim
       finally responded to me this morning," she said. "She must have heard about your post
     ' (on the internet). She wanted to make sure you know that the guy there was not
      Jeremiah1s father."

   ... ' Picazio was not present at the search and would have no ability to make such personal
         verification or assurances.

      Pirate Girl then tells Lucia she knows Lucia is telling the truth. "I don't want to discredit
      you at all because I know you're telling the truth about everything that happened that
      day," she said.

      Then what appears to be a clear plan to disseminate false information at the behest of
      Picazio appears in Pirate Girls message. "Kim is concerned that Jeremiah's father (John
      Regan) is going to get dragged into this though, and wants it made clear that he was not
      there," she said. "I'm going to talk with Top Gunner (internet name for a woman named
      Karen) about how to handle this in a way that preserves your honesty-but clarifies that
      the guy there was not Jeremiah's father."

      Investigative Possibilitv #1
      It is a possibility that the FBI agent was supposed to be a shadowy figure who took the
      evidence, never to be seen again (in the eyes of Ju<ly Lucia because she did not know
      him). That he was actually John Regan was not supposed to get out Lucia did not
      know him at the search but figured out later who he was. A shadowy FBI agent who
      took evidence would create reasonable do11bt in any future trial because of the nature
      of the items found, that subsequently disappeared. (I.e. bloody glove - inlialer - toys.)

      Investigative Possibilitv #2
      It is a possibility that the set1rch was intended to create drama and hype that would spill
      into the media and stimulate donations to the HaLeigh Bug Foundt1tion, wliich was
      created by the Sheffield/Griffis families in conjunction with Kim Picar;io and her
      husband Mike. The search at San Mateo may have been an advertising and marketing
      strategy.


                            Intimidation by Attorney Kim Picazio Begins

      Lucia said she began to recei"\ie "nasty" emails from Kim Picazio. She said she thought
      this was strange because she was simply telling the truth about everything regarding the
      San Mateo search.
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      One item of information that stood out as a particular raw nerve for Kim Picazio was the
      shoes that belonged to HaLeigh, which Marie Griffis told Lucia she had given away.
      "Kim was real upset with me with going public [emphasis added! about Marie giving the
      shoes away, calling law enforcement about the tampered articles. She really was
      defending the Regans," Lucia said.

       On May 25, 2009, Lucia received an email correspondence from Kim Picazio. It said, "I
     · believe Marie (Griffis) is pretty upset with your allegations, Judy. Perhaps you should
       give her a call."

   ... , Lucia responded. "What allegations? The shoes?" she asked .
      Kim Picazio replied. "About your dog- about the search - about tampering with evidence
      claims - about evidence found that had nothing to do with the disappearance with
      HaLeigh," she said.

      It is here in Kim Picazio' s email, that another event that took place at the San Mateo
      search involving John Regan becomes significant. During the search, John Regan took
      swipes with his machete that came very close to Lucia' s dog, Gunny- so close that there
      is a mark on the dogs leash quite close to the animal. Lucia had been very vocal about
      what she perceived to be an assault on her dog, because she thought John Regan was
      trying to harm it.

      Picazio makes reference to the dog and machete incident in the May 25 email. "About a
      good community member who definitely did not wave a machete at your dog," she said.
       " About your pining as to whether to call law enforcement against honest towns people
      who volunteered their time to look for HaLeigh.... should I go on?" she said.

      Kim Picazio is revealing that she knows John Regan was at the search. However, in
      previous emails she was disseminating information that he was not at the search and
      instructing people to spread that false information.

      Note:
      q John Regan and Jeremiah Regan are honest towns-people why does John Regan not
      W(tnt anyone to know he was at the search?


       In an email dated May 26, 2009, to Timothy Charles Holmseth, owner, Write Into
       Action, Kim Picazio makes a statement about Lucia that in-directly implicates Marie
       Griffis. She writes, "This Judy chick has spread all these fictional horror stories all over
       the internet about that search, the keys, her "alert" dog who "smelled" everything that
       day, a mysterious suitcase, secret maps, undercover FBI agents waiving machetes,
       tampering with evidence, an old nebulizer under the dirt (Marie Griffis was there and said
       they were all making such a big deal over every piece of 3 year old garbage the dog
       sniffed-     she      finally     left    cause       felt     it     was      a      joke).
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             The most serious problem created with that statement by Kim Picazio is brought by the
             fact that Marie Griffis told Lucia that the purse the dog used for a scent, belonged to
             HaLeigh Cummings. Lucia said her dog Gunny went to the toys based upon the scent of
             HaLeigh.

              The question is then raised; if the items were found as the dog tracked HaLeigh,s scent,
              whv would Marie Griffis later call it all a "joke?,, The dog had followed her missing
              grand-daughter's scent to toys (and other items) in an area where a 'bloody' glove was
            · found, and she thought it was joke?

             Another serious question that comes into play is: why did Marie Griffis tell Lucia she
             gave HaLeigh's shoes away, and why did that statement by Gi.iffis upset Kim Picazio so
    '- ·~    much?

             Investigative Possibility:
             It is possible Marie Griffis just slipped when she admitted that llaLeigh's shoes had
             been given away. It is possible that HaLeigh's shoes were given to whoever is caring
             for HaLeigh at the present time.

                                                   HaLeighBug

             The day after HaLeigh Cummings went missing (February 10, 2009), the media became
             involved at a national scale and donations began pouring in right there at the scene -
             under tents. This was the first indicator that generous Americans were willing to donate
             money in the name of this little missing girL

             The San Mateo search was held on the day of a public barbeque that was held at the
             HaLeigh Bug center, Satsuma. It was publicized.

              The HaLeigh Bug foundation is connected to the HaLeigh Bug center, a building in
              Satsuma (now located on a farm in Baker County, Florida), that had been fixed up and
              painted purple, with the professed purpose to provide Crystal Sheffield a place to stay
              while searches were conducted for her missing daughter. As time played out it became
              more and more clear that HaLeigh Bug was a money-making operation that sold the
              product: "Missing: HaLeigh Cummings."

              The administrator of the HaLeigh Bug center was listed as Jeremiah Regan. The website
              domain for www.haleighbug.com was purchased on March 13, 2009, by Jeremiah Regan.
              The physical address attached to the domain is 100 S.E. Third Avenue
              Ft. Lauderdale, Florida 33394. That is the address to the law office of Kim Picazio,
              Crystal Sheffield's attorney.

              Note:
              Attorney Kim Picazio's im10/vement began on or about March 12, 2009. That would
              mean the solicitations of donations via the website began almost immediately using the
              address of lier law office.
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       On April 24, 2009, Rebecca Thomas, West Palm Beach, FL, received a reply from the
       Florida Department of Agriculture and Consumer Services. The response was to the
       complaint she had filed regarding the HaLeigh Bug Foundation, which was soliciting
       donations to provide Crystal Sheffield with spending money while her child was missing.

            Rev. Richard Grund said he heard William Staubs confront Kim Picazio about the
            HaLeigh Bug donations, advising her that the donations being solicited were not legal
          ' and she needed to file for SOlc status. "She went on and on and on about how they didn't
            have to be (50lc status) and they could take donations, and I know better than that
            because I've been in ministry for twenty years and I've had a registered (SOlc) for nine
            years," Grund said. "Well, last week all of a sudden, HaLeigh Bug is not for profit,
    ... ·. seeking SO le status. [Kim Picazio] is covering her tracks after the fact," he said.

       According to the Florida Department of Corporations, the Haleigh Bug Foundation Inc.,
       filed for Non-Profit status on May 13, 2009 and became active (retro) on May 8, 2009.
       The purpose of the foundation is to "aid the search for missing child Haleigh Cummings
       and/or the families of other missing or abducted children."

       The language used in the corporation paper can be plausibly construed. and interrupted to
       read; "Aid the family of HaLeigh Cummings."

       The HaLeigh Bug Foundation

       President: Marie Griffis

        Vice President: Crystal Sheffield

       Registering Agent: Kim Picazio

        There are no known records for the money that was solicited and collected between Feb
        11, 2009, and May 13, 2009, by the Sheffield/Griffis families.

        Mike Picazio, husband of Kim Picazio, said he paid various monthly bills for the
        HaLeigh Bug center to keep it going. Kim Picazio said she paid for HaLeigh awareness
        trinkets to be sold at events, out of her own pocket.

        Mike and Kim Picazio's paying of bills for the HaLeigh Bug center could be seen as an
        "investment" in something larger.

        This will become clearer further      Oil   in tltis analysis under "Art Harris and Kim
        Picazio".

        Ruby Kanager (who Staubs said was carrying the bag full of evidence at the San Mateo
        search) said HaLeigh Bug was selling shirts for $20 that cost $4 to make. Kanger had
        direct knowledge of the cost/profit ratios for the HaLeigh Bug business.
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        Kanger said she was upset that the HaLeigh Bug center moved from its Satsuma location
        to Baker County. She said HaLeigh Bug was no longer doing what it was set up to do,
        which was search for HaLeigh. Kanger said it was time to stop the «charade." She
        complained that not one search was ever coordinated out of the HaLeigh Bug center. She
        complained about the money that was being made. However, Kanger never expressed any
        outrage about the lack of search activity or the income being generated, until the center
      , was moved away to Baker County.

          An audit ofthe HaLeigh Bug money would be in order and could lead to person(s) who
          financially benefited from the child being gone (missing.) One church said it gave
    ... , $5,000, and that wouldjust be a snap-shot.

                    Putnam County Sherriff's Department Detective Peggy Cone

       Judy Lucia reported to the police that a man impersonating an FBI agent walked along
       with her on the search at San Mateo on March 22, 2009. She also reported that evidence
       was bagged and taken away by the FBI agent.

       Lucia addressed this issue with PCSD Detective Peggy Cone. No known legal action, or
       even modest concern, was shown by Cone regarding this obvious federal crime.

       When William Staubs was told Peggy Cone had told Lucia that he and Jeremiah Regan
       had together delivered evidence from the San Mateo search to the police department, he
       said that was a," L-1-E." He spelled it out angrily.

       This is not the first time Staubs noticed something strange about Cone. Staubs said he
       was told by Jeremiah Regan that Cone had advised him (Jeremiah Regan) that he better
       stay way from Cobra or "end up in jail with Cobra."

        Staubs said Cone's statement about him upset him because he saw no reason why a law
        enforcement officer would say such a thing about him. Staubs said he told John Sheffield
        (also at the San Mateo search - talking with fake FBI agent) what Cone had said. What
        Staubs describes next gives rise to great concern about the integrity of Cone and the
        PCSD's investigation into the disappearance and whereabouts of HaLeigh Cummings.
        Staubs said John Sheffield called Peggy Cone on the phone at the law enforcement center
        and put it on speaker-phone. John Sheffield confronted Cone, saying Cobra is a good
        guy. He then, according to Staubs, said to Cone, "If anyone messes with Cobra, I'm
        coming down there [to the law enforcement center] and next thing you're going to hear is
        BOOM!!! BOOM!!! BOOM!!!"

        Staubs said the sounds that John Sheffield made were gunshot sounds. He said Cone
        received the communication that the sounds were simulated gunshots because she
        advised John Sheffield they were on a LE communication line, and he can't make threats
        on it. John Sheffield, according to Staubs, replied by saying it isn't a threat; it's just the
        way it is.
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                        Photo-journalist Art Harris and Attorney Kim Picazio

         On June 21, 2009, Hanis published an article about a mystery donor who paid Crystal
         Sheffield's $12,000 in un-paid child support.

         Harris stated publicly that he personally interviewed a woman named ''Barbara" from
         "Texas" for about an hour on the telephone.

         "Barbra' s" payments for Crystal Sheffield's child support arrears were made to Kim
         Picazio. They came in three erratic amounts, one much larger than the other two, and
    ..   were made at different times. This could be seen as odd for a person who supposedly has
         enough money lying around to pay a complete strangers child support debt.

         Harris alerted visitors to his site with the following headline: Haleigh Exclusive:
         Mystery Donor· Revealed!

         The article had absolutely nothing to do with the m1ssmg five year-old, HaLeigh
         Cummings, yet the first word in the headline was the missing five year-old's name.
         Nothing was truly "revealed" in the piece at all because Harris only gave the first name of
         the anonymous donor (who probably doesn't exist.)

         The written piece contained quotes from Kim Picazio. Harris also provided forum for
         "Barbara" to make negative comments about the father of Crystal Sheffield's children, as
         well as his wife.

         "Barbara" also gave shout-outs to HLN talk show hosts Nancy Grace and Jane Valez
         Mitchell, saying those shows are where she goes to get all her HaLeigh updates.

         The piece published by Harris contained legal language consistent with family law
         terminology and sounded in part like a legal brief for Kim Picazio' s un-filed custody bid
         for Ronald Cummings Jr.

         Investigative Summary:
         It would seem reasonable to investigate Art Harris and Kim Picazio to see what type of
         money exchange has taken place between them, anillor, any quid pro quo for favors in
         the future, including book rights, movies rights, documentary rights, and any other
         mass media rights about the case of missing child HaLeigh Cummings. Harris should
         be investigated for any knowledge he has of HaLeigh Cummings, and/or her
         whereabouts, that would have been illegal anillor un-etltical to posses, an<l that came to
         him via Kim Picazio in advance offinancial enrichment in the future.

                                           Conclusion
         It appears a fake search was conducted at San Mateo on March 22, 2009, for HaLeigh
         Cummings, by members of the Sheffield/Griffis family. It appears a fake scent of the
         missing child was given to a dog that then walked straight to some child's toys. It appears




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              A short time later, Photo-journalist Art Harris placed a shot of the photo on his website,
              The Bald Truth, artharris.com, with a note to his viewers to be assured the photo was in
              fact authentic and original - he vouched for it personally.

               This action by Harris appeared to a risky move because he had not had the photograph
               examined by his own expert. Hanis then obtained more photos from Marie Griffis that he
               said would prove the photo was in fact authentic. The additional photos Harris published
               actually (and ironically) proved how the original fake was created. Despite what should
             ' have been a terrible professi.onal embarrassment for Harris, he refused to take the pictures
               down, or admit they were Photoshopped fakes.

              Note:
    ~   ·,
              Art Harris seemed to move quickly 011 .the Photoshop issue, as if engagitig in damage
              control for Marie Griffis, anillor Kim Picazio, anillor Crystal Sheffield when they were
              exposed for their on"line sca1n

              Holmseth wrote and published two news pieces about Harris' publishing of fake photos
              of a missing little girl.

              Harris never once contacted Holmseth with a cease and desist letter, nor did he make a
              demand for retraction or clarification. However, Harris allowed visitors to his site to
              publish any negative thing they wanted about Holmseth - from any point or time in
              Holmseth' s life - including things about his children. Harris himself told a professionally
              defaming lie about Holmseth on the forum he runs.

              Despite Harris' obvious and expressed negative emotions about being confronted about
              the fake photos he published, he never issued a cease and desist letter to Holmseth.

              Harris made repeated telephone calls to William <Cobra' Staubs, asking Staubs to
              pressure Holmseth into taking the photos and stories down. Staubs said he advised Harris
              he had no authority to do so, nor did he have relationship that could advance the same.
              Staubs said he told Harris that Holmseth is a reporter and does as he will.

              Harris' continued harassment of Staubs is concerning because Harris is a State's Witness
              for the State ofFl9rida against Staubs in a criminal case.

              The ethical issues surrounding Harris are too many to address in this report.

              The fake photograph(s) of Crystal Sheffield are harmful to Florida Attorney Kim Picazio,
              Marie Griffis, and Crystal Sheffield, because one of the photos appeared on
              www.haleighbug.com which solicits money for the HaLeigh Bug Foundation.

              Harris, who is already the subject of a law-suit in another matter, appears to be willing to
              engage in very risky behavior on his publication to support Kim Picazio, Maries Griffis,
              and Crystal Sheffield.
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      However, an audio recording created by Jeremiah Regan that captures a conversation
      between himself and Kim Picazio paints a much different picture. During the heated
      conversation wherein the two argued, Jeremiah Regan asked Kim Picazio, "Did we make
      love or did we just fuck?" When Jeremiah Regan asked that question, Kim Picazio
      paused, and then replied, saying, "Are you recording this?" Jeremiah Regan dodges the
      question by sarcastically replying he has Art Harris in the back seat filming it.

       During this recorded conversation, Jeremiah Regan expresses intense anger at Kim
     ' Picazio for revealing to others a very deep childhood secret he had never told anyone
       because it was very embarrassing. He said he shared it with her in confidence. He told her
       they could never have a relationship because there was too much "betrayal."

      Don Knop, Kim Picazio's brother-in-law said he overheard Kim Picazio and Jeremiah
      Regan whispering in a motel room. Don Knop said Kim Picazio was advising Jeremiah
      Regan that he would not be able to make very much money in the charity business
      (HaLeigh Bug) but she could make him an oil executive in her husband's company.

      Rev. Richard Grund said Jeremiah Regan threatened Staubs. "Jeremiah left a really vile
      message on Bill's voicemail - he said, 'I'm not going down - if I go down I'm taking
      everybody with me - I have dirt on everybody.'"

      Investigative Summary:
      The nature of the relationship between Haleigh Bug Administrator Jeremiah Regan
      and Attorney Kim Pica.zio at the time of the San Mateo setuch is concerning. Jeremiah
      Regan is the person who found the .alleged bloody glove, and his father, John Regan,
      was impersonating an FBI agent and clearing and bagging evidence. When Lucia
      realized the FBI agent was actually John Regan, Kim Picazio went to great lengths in
      effort to suppress that information from the public and law enforcement Kim Picazio
      was also angry that Lucia told people Marie Griffis gave away HaLeigh 's shoes shortly
      after she disappeared.

                                     Photo-journalist Art Harris

       Rebecca Thomas contacted Timothy Charles Holmseth about some issues she was hoping
       he could address, investigate, report and publish. Thomas brought to Holmseth's
       attention a photograph that was on a slide-show appearing on www.haleighbug.com. The
       photo appeared to be a fake. It showed Crystal Sheffield holding HaLeigh Cummings and
       Ronald Cummings Jr. lovingly.

       The website haleighbug.com is online to solicit donations - the photo is to inspire
       donations through sympathy.

       Holmseth interviewed Photoshop expert Elvin Thomas, Florida. Elvin Thomas explained
       how the photo had been created to make it appear that Crystal Sheffield had been holding
       the children; but said she was not actually the original per~on in the photo.
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       Another issue created by the relationship is Kim Picazio is married.

       Staubs said he confronted the situation repeatedly. He said there was a blow-out one
       night when he alerted Kim Picazio's husband, Mike Picazio, that Jeremiah Regan and
       Kim Picazio were sleeping in the same bed and had been having sexual relations.

           Kim Picazio confinned to Ximothy Holmseth that there was an incident in a Palatka
         ' motel. She described an event as it occurred after her husband had arrived from Ft.
           Lauderdale to see if Staubs was telling the truth. "I said fuck all of you guys, you guys
           should aU be ashamed of yourselves. I'm working day and night on this case. And all you
    .. .   want  to talk about is who I am or am not fucking. It's a disgrace. Fuck all of you! I'm
           leaving. Bill, hey fuck you man! And Jeremiah, it seems to me you're the only honest one
           here because now you've said in front of my husband and everyone else the truth. So
           you're about the only person I would want to be with today. Matt, did your dad set this
           up? And he goes, yep, right in front of his dad. I said, 'then I'll be with you today. Then I
           said to my husband, Mike, for you to even think I would do something like this, fuck you,
           go home to our children- watch our children, I'll talk to you when I get home. We had a
           nice talk after that. I was pissed that my husband would believe I would do anything like
           that," Kim Picazio said.

       Holmseth then asked Kim Picazio why Jeremiah Regan had previously telephoned her
       husband and admitted he had sexual relations with her. Kim Picazio then said that
       Jeremiah Regan had told her and her husband that the reason he had previously admitted
       to Mike Picazio he'd had sex with his wife was because Staubs threatened Jeremiah
       Regan with a gun, and forced him to say it. "He told my husband that he actually, his
       knees buckled and he fell on the floor when Bill pulled the gun on him." Kim Picazio
       said further that her husband tearfully apologized, and she then said to him, "I will talk to
       you later, but, fuck you for distrusting your wife of 14 years."

       Note:
       This bizarre little dramatic tale attributed to Jeremiah Regan falling to the ground is
       not isolated. During a telephone conversation between Timothy Holmseth and
       Jeremiah Regan, Jeremiah Regan started telling Holmseth that his datl (John Regan -
       the FBI agent) was on the floor shaking because he was so upset - he said his dad had
       a medical condition and he was having a seizure because of questions Holmseth asked.

        Note:
        In a similar dramatic incident, Staubs recounted hearing actual gun-shots on the other
        e11d of the phone line while he spoke with Jeremiah Regan. Jeremiah Regan then
        yelled, "Dad!" Staubs said he thought he may have heard <t suicide. Jeremiah Regan
        said his dad was just b/qwing off steam outside. Both dramatic incidents occurred
        when Jeremiah and John Regan were being confronted about uncomfortable facts
        regarding bad things they had done. .




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       investigation. So, I don't think that they are looking at her side of the family as the
       bad guy," she said, on air.

       This is very concerning as immediate family and parents are always suspects until
       ruled out In this case, the mother and her family were not investigated. This is all
       tlespite the fact that Crystal Sheffield owed some $12,000 in child support and may be
       going to jail

          Kim Picazio reiterated her claim to Timothy Holmseth during an interview. She said law
          enforcement had never visited Crystal Sheffield. "A month after me getting in the case I
          had to give [the Putnam County Sheriff's Department] the address of [Crystal
    ... . Sheffield's] house [because] they hadn't been there yet," she said.

       During the May 24, 2009, airing of a radio talk show on the Blogger News Network
       (BNN) featuring the HaLeigh Cummings case, Kim Picazio called in and made similar
       claims. "I know what [law enforcement] is doing and they can only give that information
       to the parent of a missing child," she said.

       Picazio continued praising the PCSD on the BNN show and used the word "we" when
       speaking about the investigation, implying there have been times when law enforcement
       missed something that she, personally, then caught. "They've done an amazing
       sophisticated forensic job," she said. "Every time I call them and say 'hey, I was just
       thinking of this - did you do that' - they were all over it. Rarely have I mentioned a
       person or item of evidence that they had not done thoroughly - even by the FBI."

       When Kim Picazio talks about her involvement with the PCSD and investigation into the
       disappearance and whereabouts of HaLeigh Cummings, she often refers to Peggy Cone.
       Kim Picazio told Holmseth she is a valuable resource to the PCSD. "What's great is I get
       to get those leads on the missing child's case so I get to assist law enforcement. Call
       Peggy Cone and ask her what she's thinks of me. You can call anyone you want in law
       enforcement."

       Note:
       Photo-journalist Art Harris often cites "sources close to the investigation" in his
       tabloid style news written about the case and published on his website. It is possible
       that his source is actually Kim Picazio, receiving her information from Peggy Cone.

        Picazio described to Holmseth internal police headquarter rooms and spoke of seeing
        private family phone records that she said the FBI acquired.

                   HaLeigh Bug Administrator Jeremiah Regan and Kim Picazio

        A relationship between Jeremiah Regan (who found the bloody glove at the San Mateo
        search) and Crystal Sheffield's attorney, Kim Picazio, created conflict of interest issues
        between Kim Picazio and Crystal Sheffield, because both women were interested and
        involved with Jeremiah Regan.
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           No charges were ever brought against John Sheffield for threatening a police officer in
           the investigation into the disappearance and whereabouts of HaLeigh Cummings.

         Concerns about Cone are not limited to her repeated failures to act when laws are clearly
         being broken, and her behind the scene threats to have people arrested at will. Statements
         from Kim Picazio reveal that the investigation into the disappearance and whereabouts of
       , HaLeigh Cummings is hopelessly tainted and inept.

                               PCSD Detective Peggy Cone and Kim Picazio

    .. .   On May 25, 2009, Kim Picazio told Timothy Holmseth she was deeply embedded into
           the investigation of the disappearance and/or whereabouts ofHaLeigh Cummings.

           Holmseth thought that was odd because Crystal Sheffield is the child's biological mother
           and had motive to benefit from the child's disappearance.

           "I had a [m]ind blowing private conference with the lead task force members on the
           investigation," Kim Picazio said. ''Even to this day, I coordinate leads with Peggy Cone
           and Captain Piscatello that no one is aware of. "

           Kim Picazio has made statements to nearly all facets of the media that she is part of the
           investigation, and that her client is not a suspect at all.

           It is quite concerning that Kim Picazio can say that Peggy Cone told lier Crystal
           Sheffield, and/or the Sheffield/Griffis family is Mt a suspect in the HaLeigh
           Cummings disappearance. Shortly before the disappearance of HaLeigh Cummings,
           Crystal Sheffield received notice to appear in court to answer for child support arrears
           approaching $12,000. She was facing jail time and drivers license suspension. Tltat
           problem ended when HaLeigh disappeared. Later, her entire child support debt WllS
           paid by a "mystery" donor, whose identity is known only by 'Art Harris and 'Kim
           Picazio' as they collaborate on media releases and tlisseminate them on Harris'
           website. Strong suspicion exists that Picazio and her husband paid the child support to
           stay in the case.

           Lt. Johnny Greenwood, public information officer, PCSD, said Kim Picazio enjoys no
           privilege within that department. "Kim Picazio is not a part of our investigative team,"
           Greenwood said. "She hasn't gotten any information that anybody else hasn't gotten."

           Greenwood's public statement directly contradicts what Kim Picazio has been telling the
           media over and over.

           Kim Picazio boasted on the May 8th airing of the Jane Valez Mitchell show that law
           enforcement had never been to her client's residence because her client is not a suspect.
           "And I can say that with regard to my client, who is a parent (of the missing child), the
           cops haven't even gone out to investigate her house. They haven't even done a thorough
                                                                  ~
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           planted items were found, including a bloody glove. It appears that a fake FBI agent was
           brought along on the search to deceive the dog handler. It appears a federal offense has
           occurred and has gone un-addressed by local law enforcement. It appears fake
           photographs were created and published online to make it appear Crystal Sheffield held
           the missing child lovingly, because she didn't even have one photo of herself holding the
           child that way. It appears Florida Attorney Kim Picazio bas attempted to silence people
           and suppress the truth about crimes she was aware of It appears Kim Picazio has
           achieved inappropriate (and possibly illegal) access to an investigation of a missing child
         · that should have never been afforded her. It appears that access was granted by Detective
           Peggy Cone of the Putnam County Sheriff's Department. It appears that Special Agent
           Dominick: Pape also ignored a legitimate report that someone impersonated an FBI agent
    . . . at a search for a missing child. It appears that a member of the Sheffield family can make
            a death threat to a Putnam County Sheriff's Department detective and she will not act on
           it. It appears the Sheffield/Griffis family had much to gain by HaLeigh Cummings'
           disappearance. It appears Marie Griffis; the child's grand-mother, gave the child's shoes
            away shortly after she disappeared. It appears Kim Picazio engaged in an extra-marital
            affair with Jeremiah Regan, the director of the HaLeigh Bug center, all while she
            professed to be concerned about a 'missing• child. It appears it is possible Kim Picazio
            knew different about the child's true status. It appears Kim Picazio knows deep secrets
            about Jeremiah Regan's past that he does not want known by anyone and may be keeping
            him silent about what he knows. It appears that Kim Picazio has engaged in very
            unethical behavior by investing in a donation scam in the name of a missing child. It
            appears Kim Picazio knows things that would embarrass the Putnam County Sheriff's
            Department. It appears that Kim Picazio is able to manipulate others. It appears that Kim
            Picazio may have paid her client's back child support for the express purpose of
            remaining on the case for future media rights and emichment. It appears Kim Picazio can
            receive significant media assistance from Art Harris to support her case, even when
            Harris is forced to professionally humiliate himself to stay in her good graces. It appears
            that the family on the maternal side of HaLeigh Cummings was never investigated. It
            appears tHat so many laws have been broken in the investigation 1nto the disappearance
            and whereabouts of HaLeigh Cummings they are too numerous to mention.

        A federal investigation should be conducted into all matters concerning the disappearance
        and/or whereabouts ofHaLeigh Ann-Marie Cummings.

        A wealth of credible evidence exists that select members of the Sheffield/Griffis family
        coordinated a fake search and planted items to be found. They enlisted the help of a man
        who was willing to impersonate an FBI agent and deceive the dog handler.

        The child's biological mother's attorney was involved. A detective on the case appears to
        also have been involved and has compromised herself and is subject to blackmail fro the
        attorney.

        The investigation should surely reach all members of the Sheffield and Griffis families
        (even out of state), and should include, but not be limited to, Florida Attorney Kim
        Picazio, John Regan, Jeremiah Regan, PCSD Peggy Cone, Art Harris.
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      Datedthis       \   3       dayof_~                         ~Dl)'1 .
      ~-~             C'd4
      Timothy C. Holmseth
                                             -
      Subscribed and sworn to before me, a Notary Public, this   fi day of~ by Timothy C. Holmseth.

               Uu ta      f}1 )   \Yb)) 1Q       W4 ~oJ2 JmJn
                                        e        lYNNE MARIE HEFFERNAN
                                                          Notary Public
                                                           Minnesota
                                         My Commission E><pires January 31, 2013
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                                     Timothy Charles Holmseth
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                                              Apt #17
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                                               56721
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                                     www.writeintoaction.com


      July 13, 2009

      Special Agent in Charge
      FBI
      Federal Building
      102 N. Fourth Street, Room 304
      Grand Forks, ND 58203-3738
      Phone: (701) 772-0812
      Fax: (701) 772-6950

      Dear Agent:

      l am an investigative reporter covering the disappearance of five year-old HaLeigh
      Cummings. She was reported'missing on February 10, 2009, from her home in Satsuma,
      Florida.

      In the course of my information gathering I have come across what I believe to be a
      .federal crime and a consequential matter involving this case.

      Judy Lucia, dog handler, Interlachen, FL, told me she participated in a planned family
      search for HaLeigh Cummings at San Mateo, FL, on March 22, 2009.

       At the search, a man impersonated an FBI agent and pretended to clear, and then bag
      -evidence that her dog founded as it tracked the missing child's scent, which had been
      given to her dog by the child's biological grandmother, Marie Griffis. A purse that
      supposedly contained the child's scent was used.

      Found a,t the search was a glove (with supposed blood on it) as well as various other
      items, including toys of a child that supposedly held the scent of HaLeigh Cummings.

       Lucia said she believes the items were planted

       Lucia said she later identified the man who claimed to her he was an FBI agent. His name
       is John Regan, Hastings, FL.




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           Please accept this as my formal complaint against John Regan.

           Please also accept this as my request for a fonnal FBI investigation into all matters
           concerning the disappearance and whereabouts of HaLeigh Cummings.

           I have enclosed a preliminary investigative report I prepared in my capacity as a reporter
           and publisher.

           Respectfully yours,
           Timothy Charles Holmseth

    .. .   Enclosed: Investigative Report

                                   __ day of
           Dated this -~l-3.-.......




           Subscribed and sworn to before me, a Notary Public, this         ~        day of     I j,, ~111   by
           Timothy C. Holmseth.                                                                 -U-

           Notary Public



                                                     le.
           My Coin.mission Expires

                                                                   LYNNE MARIE HEFFERNAN
                                                               ·         Notary Public
                                                         • ·             Minnesota
                                                     ; My Commfnlon Expires Ja       31, 2013
